Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 1 of 40 Page ID #:1
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                                                                    RELATED DDJ
                                                                                                                  JAN 26 2018

                                                                                                             CENTR4L DISTRICT OF CALIFORNIA
                                                                                                               BY:       RS           DEPUTY

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                                                   iJ\1TED STATES DISTRICT COURT
                                                  CEI~TRAL DISTRICT OF CALIFORirZA

                                                                       CASENU,~IBER 218-CV-00687-~
                                                                                                   ~C-AGR
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                                                                                           To br snppGed by thr Clark
                                                         PLANTIFF,
                        v.
    DtL. E. F~R-~s LGDe~~~j D.• tCt~1~~~ COCfz-           CIVIL I'.IGHTS COI~LPLAL~T
    Ma ~ D~ U Si61N-RA~~ CpC.~. MDR DR• ~. -                 PURsvatiT To ~c~a~o„~~
    {c~eaPa~~Ca~•=n+~~r U~.S.Pstx%pEFENDANTrS). ~ 4? U.S.C. § 1933
                                                ❑ Bivens v. Sir Unknown A~:nt~ 403 U.S. 338 (1971)

   A. PF.E~'IOL'S L~.WSt'1TS

       1. Have you brought any other lawsuit in a fzderal court ~vhiie a prisoner: ❑Yes         ~l~o

       2. If your arstiv~r to "1." is yes, ho~v many?

            Describe thz lawsuit in the space below. (If there is more than one lawsuit, describe thz ad3itional
                                                                                                                 tawsuiU on an
            attachzd piece of paper using the same outline.)




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   CV-bb (7197)                                                                                                               Pig- i of6
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 2 of 40 Page ID #:2



             a. Parties to this previous lawsuit:
                    Plaintiff
        _~....,„,...~..,.....~m....,...,......~...~~.,v..~,..._. `"~
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         ~• -~c~•-~Do-~k~et~or~case namber
              d. Name ofjudje to whom case was assibned
                                                                          what was the basis for dismissal? Vas it
              e. Disposition (For example: Vas the case dismissed? If so,
                      appealed? Is it still pending?)
              f. Issues raised;




              g. Appro:cirnate date of filing lawsuit:
              h, Appro~cirnate date of disposition _


   B. EXHAUSTION OF ADIIItiISTRATIVE REI~TEDIES
                                                                        where the events relating to your c~:nent complaint
         1. Is there a grievance procedure available at the institution
            occurred? ~ Yes O No
                                                                    g to your                  current complaint? ~l Yes    ❑ No
         2. Have you filed a grievance concerning the facts relatin

               If your answer is no, e;cplain ~vhy not




         3. Is the grievance procedure completed? L~ Yes                       ❑ No

                If your answer is no, explain why not


                                                                     procedure.                      —                 -
          4. Please attach copies of papers related to the grievance

    C. JURISDICTION
                                                                        l~u~k~ Le.~.~ ~7n {~v~
           This complaint alleges that the civil rights of plaintiff ~1                (print plaintiffs name)
                                                                                                                     G
                                                                               $IDS, Scx~, Lu~~s ~(~-~s~~, C.N GI~~(G!
           who presently resides at CMC—L~s{; P.o• ~ie~~t                      (maim a ress or p ace of conhnerne t)

                                                                   below, avhich actions were directed against plaintiff at
        were violated by the actions of the defendants) named
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    C V -G6 (7/97)
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 3 of 40 Page ID #:3




       on (date or dates) ~F►~,„ SePk~°~S~-" ~~~"~-
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                                                                                                          ( 'aim   ~   .
       NOTE:     You need not name more than one defendant
                                                               or allege more than one claim. If you
                 five (5) defendants, make a copy of this page to provi                               are naming more than
                                                                        de the information for additional
                                                                                                          defendants.
       1. Defendant I~r'• ~• C= l ures~ MD
                          name of tirst~c efen ant)                                                  resides or works at
                          ~►, ~, 5, ~. , Pn• 13ox ~c~o~~~ 1~e.la,~~, C.~r
                         ( full address of first defendant)               ~13~.1G.

                           eten anCs position an tit e, ~t a~iy)


            The defendant is sued in his/her (Check one or both): ~
                                                                    individual             f~ official capacity.
           Explain ho~v this defendant was acting under color of law:
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      2. Defendant       Ar• ~a~ M n
                         to  name of tirs[ eten ant)                                                           resides or works at
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           The defendant is sued in his/her (Check one or both):
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      3. Defzndant       Dr. O. ~          ~~n Ni D
                        (tu name of tut eten an )                                                              resides or works at
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Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 4 of 40 Page ID #:4



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                      ~          defendant)

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     5. Defendant Dr. ~.
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          The defendant is sued in his/her
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Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 5 of 40 Page ID #:5



  D. CLAIMS*
                                                                            CLAIi~1I
       The following civil right has been violated;
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      Supporting Facts: Include all facts you consider important. State
                                                                                the facts clearly, in your own words,
                                                                                                                         and without
      citing le;al authority or argument. Be certain you describe, in
                                                                           separately numbered paragraphs, exactly
                                                                                                                          what each
      DEFENDANT (by name) did to violate your right.
      I> Ur. 'rc. F lire-S , C~b~ft. MD GLC
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      *If lher•e is mo~~e lhnn one clnim, describe the ndditio~zal clni~rt(s) on anoth
                                                                                       er attachedpiece ofpaper using the sa»ie
      o utline.


                                                                   CN1L RIGHTS C011PLALVT
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Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 6 of 40 Page ID #:6



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            Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 8 of 40 Page ID #:8




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            Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 9 of 40 Page ID #:9




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Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 11 of 40 Page ID #:11



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                                  Institution Response for First Level HC Appel


Date:       3/ 1 /2016

    To:     GRIFFIN, ELLIOTT(V46065)                                                               .~~     \
            A 001 2248001 L                                                                     ~ `\~       ~
            North Kern State Prison                                                    I~~
            P.O. Box 567                                                               \\ ~~
            Delano, CA 93216-0567                                                        ~~---~-, ..
                                                                                           ~__'._'
    Tracking/Log #:           NKSP HC 16027114

    Appeal Issues:

In your CDCR-602HC Inmate/Parolee Health Care Appeal Form received on 1/25/2016, you state you injured
your right shoulder ve►y badly. You claim you went to "Medical" roughly 3 months ago and you saw the RN
who scheduled you to see the doctor. You state after 6 weeks you put in another medical slip and you saw the
RN again and he scheduled you to see the doctor again. You claim it leas almost been six weeks again and yet
still no doctor. You state your shoulder I~urts very badly and you think you might really need surgery. You
c laim you can't sleep on it ~vitl~out hurting and it is really injured badly.
             Issue Type                            Action Requested
Issue 1: Access to Care (MD Appointment )          TO SEE THE DOCTOR REGARDING A RIGHT
                                                   SHOULDER INJURY.
Response:
You were seen on 2/3/16 by D. Gines, MD regarding your appeal. You stated that about 8 months ago you hurt
your shoulder from doing pull-ups and push-ups. You claimed you stopped doing the exercises and you rested
your shoulder believing that it would heal You state 3 months after, you started to do e~cercises again but the
pain was recurrent. You state taking Motrin 400mg by mouth 3 times a day partially helped your pain. You
claimed on average your pain is a 6 on a scale of 1 to 10 on abduction and raising your shoulder. Dr. Gives
examined you and instructed you to avoid over the head activities. You were advised on the graded pendulum
exercises. 7'he doctor prescribed Salsalate for your pain. Aright shoulder x-ray was also ordered for turti~er
evaluation.


    Your appeal with attachment(s), Unit Health Record (UHR), and all pertinent departmental policies and
    procedures were reviewed.


    Appeal Decision:
    Based upon the aforementioned information, your appeal is Granted.

j                ~j      ~"


\ A. Shittu, MD
  Chief Physician &Surgeon
  North Kern State Prison



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            Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 12 of 40 Page ID #:12



            STATE OF CALIFORNIA                                                                           DEPARTMENT OF CORRECTIONS AND REHABILITATION
            PATIENT-INMATE HEALTH CARE APPEAL
            CDCR 602 HC(REV. 6/13)                                                                                                                       Page 1 of
            STAFF USE ONLY                                                           Institution:                  Log #:                        Category:
            Emergency Appeal                 Yes              ~No                       S               /~,)~/5~~~ ~ ~f~'     Z—~ ~~ l
        Signature:                                   Date:                                                FOR STAFF USE ONLY
        You may appeal any medical, mental health, or dental decision, action, condition, omission, policy or regulation that has a material adverse effec
        upon your welfare. See California Code of Regulations, Title 15, Section (CCR) 3084.1. You must send this appeal and any supporting documents
        to the Health Care Appeals Coordinator (HCAC) within 30 calendar days of the event that led to the filing of this appeal. If additional space is
        needed, only one CDCR Form 602-A will be accepted. Refer to CCR 3084 for further guidance with the appeal process. No reprisals will be taken
        for using the appeal process.
            Appeal is subject to rejection if one row of text per line is exceeded.                         WRITE, PRINT, or TYPE CLEARLY.
            Name (Last, First):                ~                                    CDCR Number:            UniVCell Number:        Assignment:

        State briefly the subjecU{iurpose of your appeal (Example: Medication, To See Specialist, etc.):


        SECTION A. xpiain your issue (!f you need more space, use Section A of the CDCR 602-A):




              Supporting Documents: Refer to CCR 3084.3.
              List supporting documents attached (e.g., Trust Account Statement; CDCR 7410, Comprehensive
              Accommodation Chrono; CDCR 7362, Request for Health Care Services; etc.):


      ❑No, I have not attached any supporting documents. Reason


        Patient-Inmate Signature:                                              Date Submitted:
         ~—                By placing my initials in this box, I waive my right to receive an interview.
       SECTION C. FIRST LEVEL -Staff Use ONy                     Check One: Is CDCR 602-A attached?                                  Yes          o
              This appeal has been:                              Check One: Is this a recatergorized/converted 1824?                 Yes
              Bypassed at the First Level of Review. Go to Section E.
              Rejected (See attached letter for instruction):  Data:              Date:                  Date:                Dats:                 _
          Cancelled (See attached letter):                 Date:
                                                                                                      /~                          2s ~~,
     ~lt'ccepted Assigned to:     ~ ~ /~l                                           Title:    ~~J , Date Assigned: ~~                  Date Du~
     First Level Responder: Complete a First L ere           e. Include Inteniiewer's name, title, interview d te, locati°(~ and,complete the section below.
                          Date of Inte ie                                       Interview Location:        -~.I I ~/~11 L
     Your appeal issue is:               Grante               Granted in part      Denied                  Other:
     See attached letter. If dissa'fled with First Level res onse, com lete Section D.
      1. Disability Code:    2. Accommodation: 3. Effective Communication:      Interview Conducted?          Yes ~No
        ❑ TABE score 5 4.0   ❑ Additional time     /I asked questions            intelviewef:                 lY~ ~                             Title: r _
        ❑ DPH ❑ DPV O LD ❑ Equipment O SLICC_ PlI summed information                                ~ I   ~L? (ant Name)                                       /
        ❑ DPS ❑ DNH          ❑ Louder D Slower Please check ne:                  Signature:         ~~~   ~~                      -• Date completed:
        ❑ DNS ❑ DDP        ✓~Basic O Transcribe ❑Not reache         eached                                  ~: ~ ~7s }f,.' •.. v
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Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 13 of 40 Page ID #:13
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   STATE OF CALIFORNIA                                                                           DEPARTMENT OF CORRECTIONS AND REHABILII,~ ~ ION
   PATIENT-INMATE HEALTH CARE APPEAL
   CDCR 602 HC (Rev. 06/13)                                                                                                                    Page 2 of 2
                             _ - _-_ -                             --
   SECTION D. If you are dissatisfied with the First Level response, explain the reason below, attach supporting documents and submit to the
   Health Care Appeals Coordinator for processing within 30 calendar days of receipt of response. If you need more space, use Section D of the
   CDCR 602-A.




   Patient-Inmate Signature:                                                                       Date Submitted:

  SECTION.E..SECOND LEVEL=Staff U§e Only ;r             Check One: Is CDCR 602-A attached?                                   Yes   ~No
   This appeal has been:                                Check One: Is this a recatergorized/converted 1824?                  Yes   ~ No
      Bypassed at Second Level of Review. Go to Section G.
      Rejected (See attached letter for instruction): Date:              Date:                  Date:                      Date:
  ~Canceiled (See attached letter):                     Date:
     Accepted Assigned to:                                                Title:                   Date Assigned:            Date Due:
  Second Level Responder: Complete a Second Level response. Include Interviewer's name, title, interview date, location, and complete the section
  below.
                    Date of Interview:                                Interview Location:
   Your appeal issue is:                Granted             Granted in part    Denied                Other:
   See attached letter. If dissatisfied with Second Level res onse com lete Section F.
    1. Disability Code:    2. Accommodation: 3. Effective Communication:    InteNiew conducted?      ~ Yes           ~No

   ❑ TABE scores 4.0      O Additional time   ❑ P/i asked questions          Interviewer:                                             Title:
   ❑ DPH O DPV O LD       ❑ Equipment O SLI ❑ P/l summed information                                 (Print Name)

   D DPS O DNH            ❑ Louder O Slower Please check one:                Signature:                                    Daie Completed:
   O DNS O DDP            D Basic ❑Transcribe ❑Not reached' ❑Reached
   ❑ Not Applicable       ❑Other`             'See chrono/notes                                                                       Title:
                                                                             Reviewer:
   4.Comments                                                                                        ~P^"' ria"'8>
                                                                             Signature:
   HCAC Use Only                                                             HCAC Use Onty
   Date received by HCAC:                                                    Date closed and mailed/delivered to appellant:

   SECTION F. If you are dissatisfied w(th the Second Level response, explain reason below; attach supporting documents and submit by mail for
     ird evel Review. It must be received within 30 calendar days of receipt of prior response. Mail to: Health Care Appeals, ATTN: Chief, Building
   C, P.O. Box 588500, Eik Grove, CA 95758. If you need more space, use Section F of the COCK 602-A.




   Patient-Inmate Signature: --                    -                                               Date S~hmitted:

  SECTION G. THIRD LEVEL -Staff Use Only
      Rejected (See attached letter for instruction):   Date:                Date:                 Date:                   Date:
      Cancelled (See attached le:tsr):                  Date:
      Accepted at the Third Level of Review
   Your appeal is:                    Granted              Granted in part     Denied                Other:
   See attached Third Level response.                                              Third Level Use Only
                                                                                    Date closed and mailedldelivered to appellant:
       uest to Withdraw Appeal: I request that this appeal be withdrawn from further review because; State reason. (If withdrawal
   conditions.)




   Patient-Inmate Signature:                                                                       Date Submitted:
   Print Staff Name:                                    Title:                 Signature:                                          Date:




                                                                                                                                                   (3
       Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 14 of 40 Page ID #:14


ST/+T~ OF CALIFORNIA                                                                                              DEPARTMENT OF CORRECTIONS AND REHABILITATION
~ NNi;.cTE/PAROLEE HEALTH CARE                                                                                                    PRISON HEALTH CARE SERVICES
APPEAL FORM
CDCR 602-HC (6/08)                                                                                                                                           Side 1
                                                                 Location: Institution/Parole egion:           Log A!:                    Category:
                                                                           ,.            CS                    ,. NKSrItC.l(na2711~f ,. ~
                                                                                                               ~.
You may appeal any policy, action or decision which has a significant adverse affect upon you. This form shall be used when the policy, action or decision
being appealed involves health care services (medical, dental, or mental health services). You must first informally seek relief through discussion with the
appropriate staff member or by utilizing the health care service processes at your institution. If you are not then satisfied, you may send your appeal with all the
supporting documents and not more than one additional page of comments to the Health Care Appeals Coordinator within 15 days of the action taken. No
reprisals will be taken for using the appeals procedure responsibility.

  NAME                                           NUMBER                 ASSIGNMENT                                                       UNIT/ROOM NUMBER
 Griffin        Elliott          V46065        Coastline Colle e Pro ram           A-1-248
  A. Describe Problem: 1Tl~llre my rig t s ou er very a y,     went to me ica roug y     months
   ago and seen the R.N. who then scheduled me to see the doctor. After about 6 weeks, I put
  in another medical slip and I seen the R.N. a¢ain and he scheduled me to sPe the doctor
  again. however, it has almost been 6 weeks again and yet still not doctor, therefore, T
  am 602 ing the situation. My shoulder hurts very badly and I think I might really need
  surgery. I can't sleep on it without it hurting and it is really injured badly, can you
  please schedule me to see the doctor immediately about my shoulder injury.
                                                      Thankyou Sincerly, Mr. Griffin
  If you need more space, attach one additional sheet.
 B. Action Requested: I        am requesting to see the doctor immediately about my shoulder injury.




 Inmate/Paroiee Signature•/                                                                         Date Submitted: 01~19I16

 C. INFORMAL LEVEL (Date Received                    L V               )
 Staff Response:




 Staff Signature:                                                                                   Date Returnedtdfnmate:

 D. FORMAL LEVEL
 It you are dissatisfied, explain below, attach supporting documents                   ;are Service Request Form, CDC 7362, Comprehensive Accommodation
 Chrono, CDC 7410, Trust Account Statement, etc.) and submi        p                    to tRe,.hlealth Care Appeals Coordinator at your location within 15 days of
 receipt of response.




                                ~                                          ~n
 Signature:        ~~                                                   ~~ ---           ~          Date Submitted:
                                   1'~
              1~1(       N               'i'~~
                                            i                     ~,              ,,
                                                                                                                                            CDCR Appeal Number
              w1         N        (i ' ~                                    rL~           ~
                                                                                              :,~
                        `~
    Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 15 of 40 Page ID #:15
                                                                     Nks~nf{~ll~~27~ ~ ~{
STATE OF CALIFORNIA                                                                                          DEPARTMENT OF CORRECTIONS AND REHABILIT~~.T~ ION
INMATFJPAROLEE HEALTH CARE                                                                                                   PRISON HEALTH CARE SERVICES.
APPEAL FORM
CDCR 602-HC (6/08)                                                                                                                                             Side 2




  FIRST LEVEL:         ❑Granted        ❑ P. Granted            ❑Denied         ❑Other

  E. REVIEWER'S ACTION (Complete within 15 working days): Date assigned:                                                 Due Date:

  Interviewed by:




       v ~~~r   •aI~                                                      1 IIIC.                                            vaiC.

  Division Head Approval:
  Staff Signature:                                                       Title:                                    Date Returned to Inmate:


  F. If dissatisfied, explain reasons for           a Second-Level Review, and submit for                 to the Health Care Appeals coordinator at your location
  within 15 days of receipt of response:




  Signature:                                                     \                              Date Submitted:


  SECOND LEVEL:          ❑Granted           ❑ P. Granted        ❑                   ❑ Other

  G. REVIEWER'S ACTION (Complete within 10 working days):                           ed:                                   Due Date:
  ❑ See Attached Letter
  Signature:                                                                                    Date Submitted:
  Health Care Services
  Hiring Authority Signature:                              /                         Title:                             Date Returned to Inmate:

  H. If dissatisfied, add data or reasons for requesti g a Director's Level Review, and              mail 10 the third level within 15 days of receipt of response.




  Signature:                           /                                                                 \
                                                                                               Date Submitted:

                                    f
  For the Director's Review of Hea4{h Care issues, submit all documents to:          Office of Third Level Appeals —Health Care



  DIRECTOR'S ACTION: ❑Granted                  ❑ P. Granted          ❑Denied           ❑Other
  ❑ See Attached Letter




                                                                                                                                                          ~~
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 16 of 40 Page ID #:16




                                                ``                                                            -~~'~
                      H SAT                      A E SE~~'1                                                   ~~
                                     Flealth Care Appeal Assignmeut Notice
                                              First Level HC Appeal

 Date:    8/1/2016

 To:     GRIFFIN,ELLIOTT(V46065)
         B 004 3345001U
         California Men's Colony
         P.O. Box 8101
         San Luis Obispo, CA 93409-8101
 T'rzckfing;~,og #: iVKSP HC 16027814
 Appeal Level:      First
 Due Date:          9/$12016


 This acts as a notice to you that your appeal has been assigned to the Health Care Appeals Office for response.
 If you have any questions, please contact the Health Care Appeals Coordinator at your institution.

 If you require fiarther medical assistance,,please use the "sick call" process by completing a Health Care
 Services Request form, CDC 7362, to request an appointment with a clinician to address your concerns,




 Health Care Appeals Coordinator
 Health Care Appeals Office
 California Men's Colony




                                                                                                                      ~~
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 17 of 40 Page ID #:17




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                                Institution Response for First Level HC Appezl

                                                                                            ;..,`,'. ~ !_'
Date:    8/26/2016                                                                                        '~Ci'~

To:      GRIFFIN,ELLIOTT(V46065)                                                                           \
         S INF 1106001LP                                                                        ~~~ Z t 2016 l
         Kern Valley State Prison                                                                         ~
         PO Box 3130                                                                            ~y, - --!t~'~'
         Delano, CA 93216                                                                        `a~~~'~
Tractang/Log #:           1VKSP ~f.0 16027814


Appeal Issues:

In your CDCR-602HC Inmate/Parolee Health Care Appeal Form received on 7/28/2016, you state you injured
your right shoulder over 18 months ago. You claim you thought it would heal so you never went to "Medical,"
You state 8 months ago you went to see the doctor which took several months. You state upon seeing the doctor
he ordered an x-ray which showed severe arthritis. You claim he then ordered physical therapy because your
shoulder is in severe pain, You state physical therapy did not work and the doctor ordered an MRI. You state
when you did see the doctor, you claim he stated that you did not have a torn rotator cuff as expected but you
had a severe case of arthritis and that they would order more physical therapy. You claim physical therapy did
not work the first time and it acri►ally caused more pain. You state the doctor gave you Naproxen SOOmg for
you to take twice a day but the pain is still there. You claim something is seriously wrong with your shoulder as
it is hard to believe that you would get a severe case of arthritis in your right shoulder and not your left shoulder.
You state you can't sleep on it and it hurts badly.

          Issue Type                                       Action Requested

Issue 1: Referral (Orthopedics)                            TO SEE A SPECIALIST FOR RIGHT SHOULDER.


Response:

You were seen on 7/12/16 by E. Flores, MD regarding your concern. Your History vid Physical notes as well as
previous progress notes were reviewed. You stated that your right shoulder has been hurting for 8 months now.
You claimed that you were exercising and then all of a sudden it started to hurt. You stated that you had
physical therapy already but it didn't help at all. You claimed the pain is a 10 on a scale of 1 to 10. Dr. Flores
examined you and she discussed your right shoulder MRI results with you. You were advised to continue with
physical therapy but you declined and signed a refusal. Dr. Flores referred you for an Orthopedic consult for
further treatment recommendations. Proper posture and avoidance of strenuous shoulder exercises was
discussed with you. NSAID medication was prescribed for you.

You are currently at Kern Valley State Prison. Please be advised that North Kern State Prison can no
longer prescribe treatment or make treatment recommendations since you're at KVSP, You are advised to
submit a CDC 7362 Health Care Services Request form or an appeal at your current location if you require
medical services.




                                                                                                                          t~
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 18 of 40 Page ID #:18


                                                                                     E.GRIFFIN, V46065
                                                                                     NKSP HC 16027814
                                                                                             Page 2 of 2

Your appeal with attachment(s), Unit Health Record (UHR), and all pertinent departmental policies and
procedures were reviewed.

Appeal Decision:
Based upon the aforementioned information, you• appeal is Partially Granted as you were referred for an
Orthopedic consult.


               ~%"

A. 'h~i. u, MD
Chief Physician &Surgeon
North Kern State Prison




                                                                                       -. ,;_



                                                                                ~   ', ~,~1G 26 2016 ,~ ~i
                                                                                     '~~           %~,
  Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 19 of 40 Page ID #:19




  STATE OF CALIFORNIA                                                                                                 DEPARTMENT OF CORRECTIONS AND REHABILITATION
  PATIENT-INMATE HEALTH CARE APPEAL
  CDCR 602 HC(REV. 6/13)                                                                                                                                          Page 1 of 2
  STAFF USE ONLY                                                                                 Institution:
                                                                                                        Log #:                    Category:
  Emergency Appeal                             Yes                       ~No                       ~]/ ~~ -
                                                                                                    ,I/t'~ /                I~
                                                                                                    ,
                                                                                                    v .
                                                                                                      1
                                                                                                 ,.~i
  Signature:                                   Date:                       _                __ : .. FOR STAFF USE ONLY _ _ _ ._:_
  You may appeal any medical, mental health, or dental decision, action, condition, omission, policy or regulation that has a material adverse effect
  upon your welfare. See California Code of Regulations, Title 15, Section (CCR)3084.1. You must send this appeal and any supporting documents
  to the Health Care Appeals Coordinator (HCAC) within 30 calendar days of the event that led to the filing of this appeal. If additional space is
  needed, only one CDCR Form 602-A vr~ill be accepted. Refer to CCR 3084 for further guidance with the appeal process. No reprisals will be taken
  for using the appeal process.
  Appeal is subject to rejection if one rove of text per line is exceeded.                                             WRITE, PRINT, or TYPE CLEARLY.
  Name (Last. First):    ^~ ~        r ~, ~ ^           ~ ~                                     CDCR Number: ~ _ ~ Unit'Call Number:                   ,4ssignment:


  State briefly the subjedl/purpose of your appeal(Example: Medication, To See Specialist, etc.):


  SeC7i~y A: xplair. your issue (f~ ycu Head r+yore spacE, use Sectior A o. t`:s ~DGR 602-A.):_                                         . _ __. __                _




OSupporting   Dacumen,:,; Refer to CCR 3084.3.
 List supporting documents attached (e.g., Trust Account Statement; CDCR 7410, Comprehensive
     Accommodation Chrono: CDCR 7362, Request for Health Care Services; etc.):


~No, i have not attzched any supporting documents. Reason


 Patient-Inmate Signature:                                              Dais Submitted:
                    BY Placing my initials in this box, I waive my right to receivz an intzrviev~.
 SECiION C. FIRST LEVEL= Staf~ U~2 Only.               Check One: Is CDCR 602-A attached?                              Yes ~No
    This appeal has been:                              Check One: Is this a recatergorized/converted 1824?             Yes ~No
    Bypassed 2t the First Level of Review. Go to Section E.                                                              `~ ~
    Rejected (See attached lettsr for instructionj:  Date:              Cate:                   date: ____           Date:
~Canceiled (See attached letter •                    Date:                                                           2Z~ (,~                     (
~    ccepted Assigned to:         ~ C.'~~ (1 ~ (~                            Title:                  Date Assigned:          "Date Due:      ~ ~`~
First Level Responder: Complete a First Level espon e. Include Interviewer's name, title, interview date; location, and complete the section below.
                    Date of Interview:                                  Interview Location:                   -
Yourappeal issue is:                Granted              ranted in part    Denied                 Other

  1. Disability Code:           2. Accommodation:             3. Effective Communication:    InteNleW Conducted?        ~ Yes           ~NO
  ❑ TABE score <_ 4.0     ❑Additional time     ❑ P/I asked questions                         Interviewer:       G                        5               Tltle:
  ❑ DPH O DPV O LD        ❑ Equipment D SLI ❑ P/I summed information                                     ~I              (Print Neme)
  ❑ DPS O DNH             ❑ Louder ❑Slower Please check one:                                 Signature: ~~/     ~               f'            DBte Completed:
  ❑ S Q DDP               ❑ Basic O Transcribe ❑Not retched` O Reached
    NotAppiicable         ❑Other'            '  Seechrono/notes                                                          ~, '~,, ~~.~~''~
                            I~-~,            q                                               Reviewer:          '~ ~ ~'' ~                               TiUe:
 4.Comments:            ~~L~ ~ O • ~1
                                                                                            Signature:
 HCAC Use Only ~,G~~=—~                                                                      HCAC Use Only
 Date received b~14CdC:                                                                     j[~ate closed and mailed/ e ivered to appellant:


                            ~..>~
                                               ~~

                           ~;'             -        ~              ..
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 20 of 40 Page ID #:20
                                   ~~,~s,~. ~ i~~27~r~
       STATE OF CALIFORNIA                                 ~                                                            DEPARTMENT OF CORRECTIONS AND HE.IABIL'TA i ION
       PATIENT-INMAiE HEALTH CARE APPEAL
       CDCR 602 HC(Rev. 06/13)                                                                                                        Page 2 of 2
                                                            _        -                    ___                             __             -
       SECTiOiV D,if you are dissatisfied with the First Level response, explain the reason beloav, attach supporting documents and submit to the
       Health Care Appeals Coordinator for processing within 30 calendar days of receipt of response. If you need more space, use Section D of thz
       CDCR 602-A.




       Patient-Inmate Signature:                                                                                         Date Submitted:
      SECTION E SECOND LEVEL =$taff ttse`Onty `,            Check One: Is CDCR 602-A attached?                                                     Yes   ~No
      i This appeal has been:                               Check One: Is this a recatergorized/converted 1824?                                    Yes   ~No
      I, ~Bypassed at Second Level of Review. Go to Section G.
      I Q Rejected (See attached letter for instruction): Date:              Date:                  Date:                                        Data:
      i OCancelled (See attached letter):                              Date:
      '❑Accepted Assigned to:                                                  Title:                    Date ~~si,nad:                DatE GuB:
        Second Level Responder: Complete a Second Level response. Include inierviewer's Hama, title s If1i2Nl?4Y CJ3C2, location, and complete the section
         below.
                          Date of Interview:                               Interview Location:
       Your appeal issue is:                Granted             Granted in part                   Denied                    Other:
       See attached letter. If dissatisfied writh Second Level response, comply
        1. Disahility Code:    2. Accommodation: 3. EYective Communication:                     Interview conducted?       ~ Yes           ~No
        ❑ TABE score _< 4.0    ❑Additional time   ❑ P/I asked questions                         Interviewer:                                               Title:
        D DPH O DPV O LD       ❑Equipment ❑ SLI ❑ P/I summed informztion                                                   (Prlyd vane)
        ❑ DPS ❑ DNH            ❑Louder ❑Slower Please check one:                               Signature:                                        Date completed:.
        ❑ DNS O DDP            ❑Basic ❑Transcribe ❑Not reached` O Reached
        O Not Applicable       ❑ Oiher'           'See chrono/notes                                                                                       '
                                                                                                                                                          (itle:
                                                                                                Reviewer:
                                                                                                                           (Print Piam2}



       HCAC Use Only                                                                           ~HCAC Use Only
       Date received by HCAC:                                                                   Date closed and mailed/delivered io appellant:

       SECTION F, If you are dissatlsfled with the Second Lev=1 response, explain reason below; attach suppor~ing documents ar~d submit by mzil for
       Third Level Reviev~. It must be received ~iithin 30 calendar days of receipt or prior response. Mail to: Health Care Appeals, ATTN: Chief, Building
       C, P.O. Box 588500, Eik Grove, CA 95758. If you need more space, use Section F of the CDCR 602-P..




~.__zPatieni=lnma-te ~igiiatur~:~-,~~__~..._— _           ~---...                    ~~—s.z-_~~ _            _~—_.._,,_.._Date°~ubmittEd~_~-~—t, ~.=s.~_...~,-_ . _~~~..~__:


         Rejected (See attached latter for instruction):               Date:                    Date:                    Data:                   Dail:
      ~Canceiled (See attached letter):                                Date:
         Accepted at the Third Level of Review
      Your appeal is:                    Granted                            Granted in part       Denied                   Other:
      See attached Third Level response.                                                   Third Level Use Only
                                                                                           Date closed and mziled/delivered to appellant:
       R orniact to Withrlravi GoneaL I ranuact that this annaal ha withrirawn from further review because: Slate reason. (li Niiihdrav~ral is conditional, list
       conditions.)




       Patient-Innate Signature: _                                                                                       Date Submitted:                     _
       Print Staff Name:                                               Title:                     Signature:                                             Date:__          _



                                                                       :.       -.         _
                                                     -         ,.~,-                      ..            .:
 Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 21 of 40 Page ID #:21




 STATE OF CALIFORNIA                                                                                 DEPARTMENT OF CORRECTIONS AND REHABILITATION

  PATIENT/INMATE HEALTH CARE APPEAL
  CDCR 602 HC (REV. 04/11 j                                                                                                                                 Side 1
  iTAFF USE ONLY                                                                  Institution:                Log #:                       Category:
   mergency Appeal                    ayes                 ~No                    ~            ~/KS ^!~        uL„/)Z_,~
                                                                                                                      ~%I
  Signature:                                      Date:                                          FOR STAFF USE ONLY
 ! ou may appeal any California Prison Health Care Services (CPHCS)decision, action, condition, omission, policy or regulation that has a materia
 adverse effect upon your welfare. See California Code of Regulations, Title 15, Section (CCR) 3084.1. You must send this appeal and any
 supporting documents to the Health Care Appeals Coordinator(HCAC) within 30 calendar days of the event that lead to the filing of this appeal. If
 additional space is needed, only one CDCR Form 602-A will be accepted. Refer to CCR 3084 for further guidance with the appeal process. No
 reprisals will be taken for using the appeal process.
 Appeal is subject to rejection if one row of text per line is exceeded.                               WRITE, PRINT, or TYPE CLEARLY.
 Name (Last, First:                                                              CDC Number:           UnIUCelI Number'                 Assignment:
 Griffin              Elliott                                                    V46065                 A-1-248                          VEP Robles
 State briefly the subjecUpurpose of your appeal(Example: Medication, To See Specialist, etc.):
 To See Specialist
 A. Explain your Issue (It you need more space, use Section A of the CDCR 602-A): 1 lil~ll:"2~C~_
                                                                                                                                        G~\V ~D ~~
 ri ht should ov`r 18 months ago, I thought it would 'veal so 1 never                                                               Q~           T
 went to medical, well 8 months aeo I went to see the doctor which                                                                                     ~0~~'
                                                                                                                                          J~~'                 ~
 B. Action requested (If you need more space, use Section B of the CDCR 602-A): I ~                                                                         P
                                                                                                                                           HC ApQ~
 to see the specialist as soon as ,possible.                                                                                        -      --

~~Supporiin~ C~ncumenis: Reter co GGr~ 3084.3.
                                                                                                                               J,             ~~. ~~
                                                                                                                                   ~~UG 2 6 2~t6
                                                                                                                                                                   r

    List supporting documents attached (e.g. Trust Account Statement; CDCR 7470, Comprehensive                                                          ~ '
    Accommodation Chrono; CDCR 7362, Request for Health Care Services; etc.):                                                                    E ':-, i
 Prior CDCR 602 Appeal

~No, I have not attached any supporting documents. Reason                                                                                      Q
                                                                                                                                                 ~`r
                                                                                                                                               L
                                                                                                                                               Y
 PatienUlnmate          iat                  --d`~-"` '
                                                      i                       Date Submitted:
                                                                                           /  07 ~(`
                        By placing my iNtfals        Is box, I waive my right to receive an interview.

    C. First Level -Staff Use Only                                       Staff -Check One: Is CDCR 602-A Attached?❑Yes                  ~No
    This appeal has been:
    Bypassed a      First Level of Review. Go to Section E.
    Rejected (See attached le          instruction) :     Date:.              Date:                   Date:
    Cancelled (See ariached letter):                      Date:.
    Accepted at the First Level of Review
    Assigned to:                                                     ~1[iEF                         Assigned:             Date Due:

First Level Responder: Complete a First Level response. Include Intervie         s name~itie,~in~        data, location, and complete the section below.
                    Date of Interview:                                        Interview Location:
Your appeal issue is:              Granted                ~Gra t    in part     Denied
See attached letter. If dissatisfied with First Level r     onse, complete Section D.
Interviewer:                                              Title:              Signature:
                       (Prtnt Name)

Reviewer:                                                 Title:              Signature:

                                                                                                     HCAC Use Oniy
Date received          CAC:                                                                          Date mailed/delivered to appellant: _/_/_
  Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 22 of 40 Page ID #:22



                                                                                                  DEPARTMENT OF CORRECTIONS AND REHABILITATION
STATE OF      LIFORNIA
                                                                                                                                        Side 2
PATIENT/I MATE APPEAL
CDCR 602 H (REV. 04/11)
                                                                               below, attach supporting documents and submit to the Health Care
D. If you are d satisfied with the First Level response, explain the reason
Appeals Coordin for for processing within 30 calendar days of receipt of response. If you need more space, use Section D of the CDC -602-A.




                                                                                                    Date S     mitted:
PatienUinmate Signature:
                                                         Staff —Check One: Is CDCR 602-A Atta          ed?                 Yes   ~No
 E.Second Level -Staff Use Only
This appeal has been:
~By-passed at Second Level of Review. o to Section G.
                                                       Date:                Date:                   Date:                Date:
    Rejected (See attached letter for instructio ):
~Canceiled (See attached letter):                      Date:

    Accepted ai the Second Level of Review
                                                                   Title:                  Date Assigned:               Date Due:
    Assigned to:
                                                 Level res  onse. Include Int  viewer's name,  title, interview date, location, and complete the section
 Second Level Responder: Complete a Second
 below.
                      Date of Interview:                                    Interview Location:

                                      Granted         ~Grante in art           Denied                   Other:
 Your appeal issue is:
                                                                             Section D.
 See attached letter. If dissatisfied with Second Levei response, mplete
                                                       Title:               Signature:                                    Date completed:
 Interviewer:
                     (Print Name)


 Reviewer:                                             Title:               Signature:
                     (Print Name)                                                                 HCAC Use Only
                                                                                                  Date mailed/delivered to appellant: _/_/_
 Date received by HCAC:
                                                                                  elow; attach  supporting    documents and submit by mail for Third
 F. If you are dissatisfied with the Second Lev I response, explain reason
                                                 dar days of receipt of prior resp  se.  Mail to: Chief, Office  of Third Level Appeals —Health Care,
 Level Review. It must be received within 30 cal
                                                                                                   -  38.  If  you need more space, use Section F of
 California Prison Health Care Services,
 the CDCR 602-A.




                                                                                                    Dat Submitted:
 PatienUlnmate Signature:
 G.Third Level -Staff Use my
                                                       Date:             _Date:                     Date:                Date:
    Rejected (See attac d letter for instruction):

~Cancelied (See a ached letter):                       Date:

     Accepted at th Third Level of Review
                                    Granted               Granted in part      Denied                 Other:
     Your appeal ~
                                                                                            Third Level Use Only
    See attac ed Third Level response.
                                                                                            Date mailed/delivered to ap Ilant: _/_7_
                                           this appeal be withdrawn from turther review because;  State reason. (If withdravJ~l is conditional, list
 Request~b Withdraw Appeal: I request that




                                                                                                    Date Submitted:
 PatienUlnmate Signature:
                                                       Title:                  Signature:                                         Date:
 Print Staff Name:


                                                                                                                                                           ~"
        Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 23 of 40 Page ID #:23



    STRTE OF CALIFORNIA                                                                            DEPPRTMENT OF COFR~CTIONS AND REH.481UTAT~ON
    fNMATE/PAROLEE APPEAL FORM ATTACHMENT
    CDCR 602-A (08/09)                                                                                                                               Side ]
                                                           IAB USE ONLY   Institution/Parole Region:     Log #:                         Category:

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                                                                          ~
                                                                                           ---
                                                                                              ~                   lei~!2S I~            ~_._

                                     ____              _   _                              _         FOR STAFF USE ONLY _


    Attach this form to tl~e CDCR 602,only if more space is recded. Only one CDCR 602-A may he used.
    Appeal is subject to rejection if one row of text per line is exceeded.          WRETE, PRINT, or TYPE CLEARLY in black or blue ink.
    Narne (Last, First):                                             CDC Number:          UniVCell Number:           Assignment:

    Griffin, Elliott                                                  V46065                 A-1-248                  VEP (Robles)
                                                   several months (See
    A. Continuation of CDCR 602, Section A only (Explain your issue): tOO~C
    Prior 602 Appeal attached). upon seeing the Doctor he ordered an                                                           ~~~~I~~
    xray which showed severe arthritis. He then ordered physical therapy                                                     Qw       ~~
     because my shoulder is ;n severe pain. Physical therapy did not woLk                                                          ~,     ,~~~~
    ~~ and the ibrtor ordered an MRI, well when I went to see the doctorz                                                               ~~~     Q
       the doctor said that I did not have a torn rotator cup as expected                                                   ~             H~ Pp~~
       but that I had a severe case of arthritis and that they would order
       more physical therapy. However, physical therapy did not work the
     first time, it actually just caused me more pain. 11ze doctor gave                                                                  . ~,
                                                                                                                                           ~'i`~~'
     me pain medication naproxen S00 MG Tablet for me to take twice adam                                                              `  ;- -',_/;:
     but the _pain is still there, something is seriously wrong with my                                                            ~~~~ `:~!':
                                                                                                                                   ~._   _-
     shoulder as it iG hard to believe that T woi~l c~ gPt a sP~TprP ('.ASP ~f
     arthritis in my right shoulder and not my left. But ultimately I
     can't sleep on it and it hurts very badly, so I am asking to please                                                           ~
     please see the specialist about the severe pain in my right shoulder
     because it is persistent and not going away.    lhankyou
          Also can I be granted more medication because my medication is                                                           ~
                                                                                                                                   ,
     ~l~e~~~ ~unnina-out as thP~~nn1_,~~~oa~mP
                                            ~a 1 5 cl~v ct g}Z1~ and T'm                                                           ~,
      oin to need me i~ ~'i~_   til my shoulder gets repaired.
    Inma        arolee Sign ure: ~                 ~                           Date submitted:
     07/16                                     ~

    B. Continuation of CDCR 602, Section B only (Action requested:




    InmatelParolee Signature:                                                                  Date Submitted:
     Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 24 of 40 Page ID #:24
STATE OF CALIFORNIA                                                                           DEPARTMENT OF CORRECTIONS AND REHABILITATION
INMATE/PAROLEE APPEAL FORM ATTACHMENT
CDCR 602-A (08/09)                                                                                                                 Side 2



 D. Continuation of CDCR 602, Section D only (Dissatisfied with First Level response): _




 Inmate/Parolee Signature:                                                                 _ Oate Submitted:


 F. Continuation of CDCR 602, Section F only (Dissatisfied with Second Level response):                 _ _        ___




 InmatelParolee Signature:                                        _                           Date Submitted:




                                                                                                                                     ~~      I
      Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 25 of 40 Page ID #:25




                                                                    CMC -California Men's Colony
           HEALTH CARE SEl~VICES                                              Highway 1
                                                                           P.O. Box 8101
Patient:          GRIFFIN, ELLIOTT LEW                               San Luis Obispo, CA 93409-
DOB/Age/Sex:      8/8/1983 34 years    Male                     CDCR #:       V46065
Encounter Date:   4/12/2017                                     PID #:        11984829
Attending:        Pido,Susan P&S                                Referring:

                                                Consul#afion Notes                       ~ ~~~~~~




Legend: c=Corrected, @=Abnormal, C=Critical, L=Low, H=High, f=Result Comment, i=lnterp Data,'~=Performing Lab

Report Request lD: 4322630                                              Print Date/Time: 11/8/2017 09:53 PST

         WA~tNIIVG: This report contains confidential, proprietary, and/or legally privileged
                                  informati    intended for the recipient only.

                                              ~X~ ~ ~
                                                                                                                ~.~
            Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 26 of 40 Page ID #:26

'atient Name: GRIFFIN, ELLIOTT LEW                                                                                                                                        MRN: V4606;
)ate of Birth: 8/8/1983 00:00 PDT                                                                                                                        FIN: 10000000811984829V4606f

                                                                                         * Auth (Verified)




            ~i ~i ~ ~i i~ »~i fi ~i ~ n~ ~i Ni~
            •08/2312017 M'34 0136
            GRIFFIN, E1L10? DOB:0810811963
            Dr. PCP: KOWALL MARK
                                                  MR#00037416831        ;
                                                                        _L,isL•_          ________                    DUQ:~
                                                                                                                                           ~(~, `l/~f J~ ~ ~-
                                                                                                                                           CDCRHY- r `<'U



                _                —                ..    -. -        -                 Urthopc~dic I~'istory
                                            1'oduy's Date:~`    Z           _~or G I-I nd I7ominaiit          Age:              Fleight: ~ 7 Weight: ~ ~

                                            W hat ins4ilution are you From      ~ I I-~orrti a           ~~S          ~y ~o           JT^'f~-~ T ~-Sor~

                                                                                               CI~(ef ComplainE


                                           1Viiy arc you seeing [hc doctor toddy?~~ ~~- ,s~ ~-lc~a.~-,~+-r~~

                                                                                                                                     "'~


                                           Datc of Injury:     o`~.O I S~    --"
                                                                                   ~~—~'t            ~cJ l f f~~ W'~}j.j~ ~~ ~ 1~--~ V

                                            -low did Injury occur:~c                   M•+~__,__~C'-~r'Gl. /                                             ~/~    ~ r~,~/
                                                                                        ,J                                                                f

                                           i-low Ion;have ~rou lave pain in the airea H~:~t ~rou are Seeing              For:                            days

                                           What makes the pain rvorsc?~                   .S~«

                                           Why( makes the pain beUcr?          2~~ ._,_
                                          Dv you have pain with lctivity7~ N Pain ~vith weight bearing`?~~erp~[i~ffe                               • ctivities'~Y~ N
                                          Knee I ocki,,~~
                                                      ~ }~ee~riroKrrg-way`.~-1'~ IY Shoulder Pai       rth Overhead Activit                       Y'
                                          Night time Pain awakciiii     N — Previous injections, Y N      kCow rnany_.,[___

                                         Do you inke s~ny ~ncdicadon for the p.rob m?                                                            7           ~~"~~ ~ J
                                         (Whit is the name ~f medication?)       {S                  /Ja ry ke..,

                                        t-lave you had previous Surgery for the problem?
                                        {when/where`?): No

                                                                                          !'ast Medical History


                                         Allergies:      ~.1Dh~

                                         Madic~fions(COCK Med I..ist):                ~~~


                                         Nledicnl Prol~len~s: high blood pressure diabetes           heal attack     stroke     arthritis Hepatitis     NG

                                                                Other:

                                        Pnsl Surgery(Dntes):        ~b~<




                                        f•I<ive you everhacl General               i~'before? Yes( No f Any Problems:




~acility: CMC
                                                                                                                                                                             a~
                                                                                                                                                                          Page 2 of',
            Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 27 of 40 Page ID #:27

patient Name: GRIFFIN, ELLIOTT LEW                                                                                                                                                        MRN: V4606:
)ate of Birth: 8/8/1983 00:00 PDT                                                                                                                                        FIN: 100a0000811984829V4606;

                                                                                                            Auth (Verified)


                                                                    ACCT'# 100571331
                1 1 1 !I I I I I I IiIN~l l l l l ~l l l l al l l
                -0812312017 M 34 0136
                                                                    MR#000374168
                                                                                       _Last:-----------                      ----I)013:_                   CIS E       ~' ~I/~~.0~
                GRIFFIN, ELLIOT DOB:08!0811983
                Dr. PCF'; KOWALL MARK
                                      .                                                                     I~aimily Flisl~>ry
                                                                                 'r\liv              Dec~asecl          Age                 I~fealth status or cause of'death
                                                       M othe:r~,ea.. sa                    h                          .~~




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                                                      mgle~~ lVtnrried       Divorced                   Separated       Widowed
                                                      2x11ar n: No      Yes# .~
                                                     former Occupation:                          r
                                                                    d~ e. tu(¢.~       ~n   ea c:'f~
                                                    Smoke Currently? Yes        No     _., ___.packs per day for `~~'~;,  ears
                                                    Quit Smoking? Thts ear          >iyelr       >5ycars       >l0ye s
                                                    Previously smoked... ~ z-- packs per day,!             ears
                                                    Drink Alcohol in pest?   Daily          -wee              I-2x/ntonth      never
                                                    Dri3g Use in past:

                                                                                                         lteview of Systems

                                                    Are y~~u currently hiving or have you had problems with:
                                                                                                   ~escr'tbe III Yes responses




                                                 PLEASE COlVIPL~;7'E PR]:OR 'i'O OCTOR'                                                ISI~'
                                                 RETURN FORM W1:TH I'ATTENT                                                             VISIT
                                                                              Reviewed                                                                  Mll




=acllity: CMC                                                                                                                                                                             Page 3 of
            Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 28 of 40 Page ID #:28

'atient Name: GRIFFIN, ELLIOTT LEW                                                                                                                        MRN: V4606:
)ate of Birth: 8/8/1983 00:00 PDT                                                                                                        FIN: 10000000811984829V4606F

                                                                                   * Auth (Verified)


                                                    M~000a~a~sa3,
            IIIIII~IIII~II~pIIII~~l~Il~~lI~IIII~~
            •08123!2017 M 34 0136
                                                                          Last                               c~cR~~I~~U(~no~
            GRIFFIN, E1.L10T DOB;0810BN983
            Or. PCP:KOWAII MARK
                                                                             Physical ~xa nation
                                                                              Shoulder I~ ft Right                                       ~f
                                                                                                                             "~               1
                                           Name                                                                      Date         i

                                           Ce~vica! Spine
                                              Tenderises •      ne       Midline Naracervic~L
                                              ROM;        ormal    ecreased
                                              Foramenal Compression Tes Negative    Neck Pain Radicular Rain

                                          Shoulder
                                          Inspection:       Noxma ,,,.--Muscular        Atrophy        Hyper#rophy
                                                             symmetry
                                           Tenderness: No           AC .►oint J3ipops Tend n Subacxornial Space AnU Post Capsutc

                                          Range ofMoli
                                                Passi e Nor               ~bnorma]

                                                     Active Normal     Decreased Terminal        FP~~ABD,~ IR L3                        ~R~

                                                     Pain through "zone of impingement"       .None          c~., +

                                          Sh~ength:         Normal        I'P,~+      ABD~+ ER~+                IR ~___+      SS y +

                                         .ln:pingement Maneuve~~s: Negative
                                           Jobe's off.•+ ABD/IR~~- Speed's^-~- O'l3rien's_+ Yergason's ~C-Dady Add ~•

                                        Ii7slahilily M euvers:
                                          Ar►t.      wer       Past.             er          Sule      ~gn              G         ~n~

                                          Yasculor (U          Intac    Abnormal         Neuro (U ): Gr~ssty intact         Abnormal

                                         ~2adiographs: Normal              Abnormal

                                              o Subchondral cysts o Subchondral sclerosis o Periarticulat• osteophytes
                                            '~~int spa~c^ e narrow' ca/J~oin ubl anon


                                       Impr             ion:                                                            s ~ ~1~.e F~yinik
                                         i)
                                         2)          ~.

                                         3~             P~~                      di r~
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=aciliiy: CMC                                                                                                                                             Page 4 of .'
           Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 29 of 40 Page ID #:29

patient Name: GRIFFIN, ELLIOTT LEW                                                                                                                  MRN: V4606:
date of Birth: 8/8/1983 00:00 PDT                                                                                                  FIN; 10000000811984829V4606:

                                                                                 * Auth (Verified)



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           III~IIItl~IIII~I~I~~IIIIIuIIII~I~II~~l~~I MR#00030416831
           •0812312D17 M 34 0136                                         Last                        .__~CDCR# 11~~1t(~,J~OS
           GRIFFIN, ELI,IOT DOB:08f0811983
           Dr. PCP:KOWALLMARK


                                     Recommendations•                                    'rte I ~
                                                                                      M~~
                                          Discussed symptoms,PE endings, Xltays, diagnosis, optioixs (Operative aid Nonop.)

                                         Patient elects to have Surgery                                     ~

                                         Failed Conservative Management               .SAID'S~rj~~n oPhyszcal Therapy

                                         NSAiD'S                                              Other Meds:

                                         Injection (lcc Dexa    asoi~e/3cc 1% Xylocaine, Sterile Tech.)S     romial AC
                                                    Risk   d Complications discussed                   Glenohuin~eral
                                                  Im vetnent S/P injection

                                         Independent Shoalder Exercise Pt~ogram( Instructions given)

                                         Playsical Therapy                  x/week £or           weeks

                                         Surge           Az-tl~roscop   Decompressi ,Aistal Clavicle Resectio

                                              ~ ~ Rotator
                                                        ~.Cuff Repair, Debridement, SLAP Repair,Labrum Repair,

                                 V                    Anterior Reconstruction, Biceps Tenotozny, Biceps "Cenodesis,

                                                      I-IemiArthraplasty, TSn,      Manipulation under Anesthesia

                                                       AC Joint Reco~ truction
                                                                        cedure, Risks and Complications discussed with patient

                                        Pre-Operative Medical Clearance for Surgery Requested

                                                           EKG, CXR, CBC, Chemistry Pancl

                                        further Diagnostic ~'roceduxes: Contrast MRl

                                            Other:

                                        Information Literature giveix to                                              Shoulder Surgery
                                                                                                                      r~ANATOMY

                                                                                              Requcsf Authorization for Surgery



                                     Mark G. Kowall;M.D., M.B.?
                                     Orthopedic Surgery Consultant




                                                                                                                                                             1
~acility: CMC                                                                                                                                       Page 5 of;
          Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 30 of 40 Page ID #:30




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     ~r                                                                                   Highway 7
             ~~~~,T~          ~~ ~~~~E
                                                                                       P.O. Box 8101
Patient:             GRIFFIN, ELLIOTT LEW                                        San.Luis Obispo; CA 93409-
DOB/Age/Sex:         8/8/1983 34 years    Male                              CDCR #:         V46065
Encounter Date:      4/12/2017                                              PID #:          ~ 1984829
Attending:           Pido,Susan P&S                                         Referring:
                       ~.
~~..         ..T...~               ~.~._r~..~..~_...~.       ...,~,.~... Orders                  ...~..~..~._._._~.~.,~..~~,,__.~
Ambulatory Referrals

   Order; Request Referral to Orthopedic Surgery
'Order Date/Time: 10/31/2017 14:26        _. _ PDT                                       _                      _           _
   Order Start _..  Date/Time:   10/31/2017   14:26 PD7
   Order Status Ordered                            !Department Status: Ordered                  Activity Type: Ambulatory Referrals
      _.      __                               •                                               'Request
.End-state DatelTime: 10/31/2017 14:26 PDT                                End-state Reason:                                                    '
   Ordering Physician: Pido,Susan P&S                                     Consulting Physician:
   Entered By: Pido,Susan P&S on 10/31/2017 14:26 PDT
   Order Details: 10/31/17 2:26:00 PM PDT, Routine, Ortho surgery, Right shoulder arthroscopy, decompression, possible RC
 ;repair, distal clavicle resection, Ambulatory, No, Standard Precautions, 01/30/18 23:59:00 PST
   Order Comment:
                                                                                                                                           ._
   Order: Referral to Orthopedic Surgery
'Order Date/Time: 8/14/2017 15:04 PDT                                                                                                       _.
   Order Start Date/Time: 8/23/2017 07.30 PDT _                                                                                         _. ,. ,.
   Order Status: _ r Completed
                            _ ..                   ;Department_ _Status:
                                                                   _.    Comple4ed _               .._ . .. Type:_.Ambulatory
                                                                                             _ :Activity               ..     Referrals _ .,
         __:
:End-state
 -                Date/Time: 1Q/23/2017 14:45 PDT                         End-state Reason:
.Ordering Physician:_.Griffn,Ben P&S                                      Consulting Physician:
   Entered By: Gonzalez,Sandra RN on 8/14/2017 15:04 PDT                   _                     _                _.       _
'Order Details: 8/23/17 7:30:00 AM PDT, Routine, Offsite, Dr Kowall Ortho Consult, R shoulder impingment syndrome, Dr
   r~owall Orthopedic consult, 11/04/17 23:59:00 PDT
:Order
_            Comment: RFS 17/XX-XXXXXXX




Legend: c=Corrected, @=Abnormal, C=Critical, L=Low, H=High, f=Result Comment, i=lnterp Data, *=Performing Lab

Report Request ID: 4322753                                                            Print Date/Time: 11/8/2017 10:05 PST


            WARNING:This report contains confidential, proprietary, and/or legally privileged
                                         information intended for the recipient only.

                                                                                                                                           3~
      Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 31 of 40 Page ID #:31



CMC -California Men's Colony

Patient:     GRIFFIN, ELLIOTT LEW
DOB/Age/Sex: 8/8/1983 / 34 years  !Male                          CDCR: V46065
                                                                                                    __..__ .
                         ~----
~____._._—                          -_._.._______~~._.__ Orders         .__'_____.~                              .....~._..____)
Mental Health

Order: MH Group Recreation Therapy
Order Date/Time: 5/9/2017 14:01 PDT
Order Start Date/Time: 8122/2017 08:30 PDT
Order Status: Completed                 Department Status: Completed               Activity Type: Structured Therapeutic
                                                                                   Activities
End-state Date/Time: 8/22/2017 10:28 PDT                      End- e Reason:
Ordering Physician:                                              suiting Physician:
Entered By: on 5/9/2017 14:01 PDT
Order Details: 8/22/17 8:30:00 AM PDT, 8/22/17 10:28:    AM PDT, D-Yard 7-2 Tues 830 Allen, 05/18/17 23:59:00 PDT
Order Comment:

Order: MH Group Recreation Therapy
Order Date/Time: 5/9/2017 14:01 PDT
Order Start Date/Time: 9!19/2017 0 0 PDT
Order Status: Canceled                Department Status: Canceled                  Activity Type: Structured Therapeutic
                                                                                   Activities
End-state Date/Time: 9/1 017 09:27 PDT                          End-state Reason:
Ordering Physician:                                             Consulting Physician:
Entered By: on 5/~/ 017 14:01 PDT
Order De;a;;s: ~Q'17 8:30:00 P.l~" PLAT, ~I~ pi17 x:2':02 „V{ PJT, ~J-Yard ?-2 Tues 830 Allen, 0 /18/17 23:59:00 PDT
Order C      ent:

Patient Care

Order: OTM Routine Return Follow Up 20
Order DatelTime: 8/23/2017 13:17 PDT
Order Start Date/Time: 9/5/2017 10:00 PDT
Order Status: Completed                   Department Status: Completed            Activity Type: Follow-up
End-state Date/Time: 9/5/2017 13:15 PDT                       End-state Reason:
Ordering Physician: Pido,Susan P&S                            Consulting Physician:
Entered By: Gonzalez,Sandra RN on 8/23/2017 13:17 PDT
Order Details: 9/5/17 10:00:00 AM PDT, *Within 14 Calendar days, 09/06/17 23:59:00 PDT, F/U return OTM TCCH
Kowall-surgery rec for R shoulder (see consultant notes)
Order Comment:




Legend: c=Corrected, @=Abnormal, C=Critical, L=Low, H=High, f=Result Comment, i=lnterp Data, *=Performing Lab

Report Request ID: 4322753                                                 Print Date/Time: 11/8/2017 10:05 PST

          WARNING:This report contains confidential, proprietary, and/or legally privileged
                                   information intended for the recipient only.


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Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 32 of 40 Page ID #:32



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                                                                                                                                      \  _.__/



                                     Health Care Grievance Assignment Notice
                                                Institutional Level
  bate:       10/30/2017
  Tv:         GRIFFIN, ELLIOTT(V46065)
              # D 007 2218001E
              Californil Men's Colony
              P.U. Box 8:101
              San Luis Obispo, CA 93409-8101
 Tr~►cking #: CMC HC 17000215
 Appeal Level:       Institutional
 DYie Date:          1/2/2018

 This acts as a notice [o you that your grievance has been assigned to the Health Care Grievance Office
                                                                                                             for
 response. 11' you have any questions, please contact the Health Care Grievance Coordinator at your
                                                                                                    instituCion.
 Your medical co~acliCion will continue to be monitored with care provided as determined medically indicated
                                                                                                              by
 tha Primary Care Provider. if you have additional health care needs, you are advised to utilize the CDC
                                                                                                           7362,
 Health Care Services Request Form, process to access health care services in accordance with
                                                                                                      California
 Correctional Health Care Services policy.


          ~""'
 Lino, K.
 HealCh Care Grievance Coordinator
 Health Care Grievance Office
 California Men's Colony




                                                        ~X ~
                                                                                                                                      P,O. Box 588500
HEAL~`H CARE SERVICES                                                                                                            Elk Grove, CA 95758



                                                                                                                                                        ~~
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 33 of 40 Page ID #:33


           ~~




 Date:           Zo/3z/1~                                                    REJECTION NOTICE
 To;             GRIFFIN, ELLIOTT(V46065)
                # D 007 2218001E
                 C1lifornia. Men's Colony
                P.O. I3ox 8101
                San Luis OUispo, CA 93409-8101


 Tracl~ng ~:     CMC HC 17000215

 Tt his been delcrrnined your grievance package submitted does not comply with health care grievance
 procedures established in the California Code of Regulations Title 15, Article 8, and is being rejected and
 returned to you for the following reason(s):
Anticipated Action: California Code of Regulations, Title 1 S, subsection 3087.9(a)(2) states,"The health care
grievance concerns an anticipated actioiz or decision." Upon review of your appeal by the Healthcare Grievance
R.N., it was determined that the appropriate way of addressing your concerns is via the healthcare services
request form 7362. Form #0879869 has been submitted on your behalf. You are encouraged to address your
concerns and questions with your physician.

Explain the health care policies, decisions, actions, conditions, or omissions that have had a material adverse
effect on your health and welfare.
Take [tae ~iecessary corrective action provided in this notice and resubmit the health care grievance withi~~ 30
calendar days.




Raughi, P
Health Care Grievance Coordinator
Hea1lJ1 Care Grievance Office
Cali~Fornia Meu's C;oiuny




                                            ~~~, ~~
                            "'**PERMANENT GRIEVANCE ATTACHMENT-DO NOT REMOVE*'"*
                                                                                                       P.O. Box 588500   C~
 k~1EAxL~'P-1 ~~Fi~ SERI~I~E~S                                                                    Elk Grove, CA 95758
              Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 34 of 40 Page ID #:34


 SiATE OF CALIFORNIA                                                                                                              DEPARTMENT OF CORRECTIONS AND REHABILITATION
                                                                                                                                                                    Page 1 of 2
 HEALTH CARE GRIEVANCE
 CDCR 602 HC (Rev. 06!17)
 STAFF USE ONLY                                                                         Institution:                    Tracking #:
                                      Expedited?          ~ Yes               No




 Staff Name and Tlile (F~nt~au                                                  Sianatu e         ~                                         Date
                   have    medical, mental   health or dental  emergency,    notify staff Immediately.  If additional space Is needed, only one-CDCR 602 HC A
 If you think you        a
 Health Care Grievance Attachment will be accepted. You must submit this health care grievance to the Health Care Grievance Office for processing. Refer to
 California Code of Regulations(CCR), Title 15, Section 3087 for further guidance with the heAllh care grievance process.

 Do not exceed more than one row of text per Ilne. WRITE, PRINT, or TYPE CLEARLY In black or blue Ink.
 Name (Last, Firs ,Nil):                     ~ i                                                                                          CDCR #:                     UniUCell #:


                      Explain the decision, action, condition, omission, policy, or regulation that has had a material adverse effect upon your health and welfare for
   SECTION A:
                      which you seek administrative remedy.
                                                          lCs~ l              c. 5 ~ cr ~               --~.~e.r~ P't• I~.- -            -      er         c,~ I r~
         •-+~                        i'' c>r'l !71

  - ~ t'/-~                d~e S              's~S o"!'                       b~,~                s.'c-            (~+"~ha G~lc. Sur .tr~n                           W~~. ~U~lv~

                                                                                                                                             ca r''-r .a.~          [.'t:~—   J 4.Y 7 r~ C.a ~c S
                    i.C-•1-t'"1 (   ~`0~ 7             !'~ y` G!' _:~ y.~o~,f.. (C~t                   ! ~t     QY.'~"'!"'-e        l:,
  /LG'7 - st C~

                                                                         —                                 ~Vt-Y~.~ ( 12t6~''_~~           1`Z G'Y~    1~            ~/lC.t
  ~~3r'~'Tz~)            .5 ~~'~      J---   %~•G ~r7~~GF3~       ~:~v'ii4+'~s1                   ~--F—


      G?f.~ _ I C'6~ c          ~~~                     ."✓7    /~     c'~~/t.!
                                                                              Z         i f +'1     ~- 1~L       51       ~ E~ G-~lL1       G~-J~-G~           Vt             G.i\ -        / ~-
         —r                                                      y'



                                                                                                                           .~


                                                           (Lyou need more she. usa Section A of thg~DCR 602 HC A `'!J

      Supporting Documents: Refer to CCR 3087.2. List supporting documents attached:




                          -- - - -                                                 -- _ -- - --- - - - -- -
                                                                                                          ~ vG ~ ~ ~. ~~ e~~~. ~
                                                                                                                                            - L         ~ ~~r .,~,a .~~~5~
       No, I have not attached any supporting documents. Reason:~ ~,~ ~

 Grievant Signatures           ~                   _    ;~.                                                     Date Submitted:         ~o-a3 ~ r~
 BY PLACING MY INITIALS IN THIS ~~;I REQUEST TO RECEIVE AN INTERVIEW AT THE INSTITUTIONAL LEVEL.
 u~n~Tu ~nq~ ~R~Fvn►~r.F REV!F.W INSTITUTIONAL LEVEL: Staff Use OnIV                                               Is a CDCR 602 HC A attachod7             ❑Yes                       No

 This grievance has been:

      Rejected (See attached latter for instruction): Date:                (; -3 ~                 Dale:

     Withdrawn (see section C)

      Accepted               Assigned To:                                      Tftlo:                                      Date Assigned: ~ U ~       ~ -           Date Due; 1 I

 Interview Conducted?                        ~ Yes ❑ No                  DAte of Interview:                                    Interview Location:

                                                                                            Sic~nelure:                                                     Date:
 Interviewer Nama orid Title (print):
 Reviewing Authority                                                                        Signature:                                                      Date:
 Name and Title (print):

 Disposition: See attached letter                         ❑Intervention                                ❑ No Further Intervention                      ❑ No Intervention

                                                         If dissatisfied with lnsdtut/onal Leve! Response, complote Section 8.

 HCGO Use Only: Date closed and malted/delivered to grlovont;

   1.(]Isabllily Code:         2. Accommodation:               3. Effective Communlcapp~;
[~ TABE score 5 A,0           ❑ Addllional lim9                ❑ Pelienl asked quesllons
   DPH~ DPV~ LD               ❑Equipments SLI                  ❑Patient summed inlormalion                         0 ~i ,~ ~01
   DPS(]DNH                   ❑ Loudor~ Slowor                 Please check one:
   DDP                        ❑ ~aslc❑Transcribe               ❑ Nol reached'❑ Ruched                                    STA FF                             ONLY
   Nol Applicable             ❑Other'                            'See chrono(notes

  4.Comments:~A'~D I b~,Q
                                                                                                                    by the Health Care
                                                                                                                       Appe31S Office                                                  3
            Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 35 of 40 Page ID #:35


  iTATE OF CA~IFORNIP,
                                                                                                                                 DEPARTMENT OF CORRECTIONS AND REIiABILITATION
  iEALTH CARE GRIEVANCE                                                               ~j{~,{~' }~        I ].(~~~c~- ~S                                                            Page 2 of 2
 ;DCR 602 HC (Rev. 06!17)
                                                                                                                                Tracking #:
                     Heaith Cafe G~IevanCe Appeal, If you efe dlssatisfled with the Institutional Level Grievance Response, explain the reason below (if
   3EGTION B:                                                                                                                                                more
                     space Is needed, use Section B of the CDCR 602 HC A), and submit the entire health care grievance package by mail for Headquarters'
                                                                                                                                                        (HQ) Level
                     health care grievance appeal review. Mall to: Health Care Correspondence and Appeals Branch, P.O. Box 588500, Elk Grove, CA 95758.




 grievant Signature:                                                                                       Date Submitted:
 EALTH CARE GRIEVANCE APPEAL REVIEW HQ LEVEL: Staff Use Only                                                  Is a CDCR 602 HC A attached?              ❑Yes                 ~ No
 his grievance has been:

    Rejected (See attached letter for instruction):           Date:                            Date:

]Withdrawn (see section C)

]Accepted

 terview Conducted?                     ❑Yes ~ No                  Date of Interview:                                    Interview Location:
 terviewer Name and Title (print)'                                                   Signature:                                                        Date:
Ispositlon; See attached letter                     ~ Intervention                            ❑ No Further Intervention                          ~ No Intervention
                                                            This decision exhausts your administrative remedies.

D Use Only: Date closed and mailed/delivered to grievant:

SECTION C:         Grievant requests to WI?HQRAW health pare grley'ance: I request Thal this health c~.re grievance be withdrawn from further review.
                                                                                                                                                      Reason:




rlevant Signature:                                                                                       Date Submitted:

aff Name and Title (Print):                                                                  Signature:                                                    (Date:




                                                           S TAFF USE ONLY

;lribution: Original -Returned to grievant after completed; Scanned Copy -Health Care Appeals and Risk Tracking System 2.0(Do not place in central
                                                                                                                                                   file or health record)

'Jnaufhonzed collection, creation, use, disclosure, modi~cafion or destruction olpersonal!}~ identifiable in/orma~ion and/or prolec(ed health rn(ormafion may
                                                                                                                                                              sub/ecf individuals fo Civi!
                                                                    liebili~y under applicable /edera/ and state laws.                                                                       '/►
                                                                                                                                                                                             W
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 36 of 40 Page ID #:36

 0llender Details                                                                                                                                                                                                                                                                                                                  Page 1 of 1




                            Vorslon 4.6.1.1

  Rt~lease Note
  .Summary       ,Bed Inventory ; ADA/EC History
    ......._......_:..~...___......_ ._.___..._~~..w. _...___....,_...~.                                      ....._,_.,_,..~,...........~.,.,.~....~,..,.._._..._,..~.,....,..~._......,......,..._.~                                                         _~~._..                                                                                        _.,
                                                                                                                                                                                                                                    Generate Reports /Get Help I Report a Problem L ~g Oi

  CDC #: V46o65                            ~SeacSh                                                                          CDC Number: V46065, GRIFFIN, ELLIOTT LEW


     r...Summary            ......................................................__............._........_............_..._....._........_..._._..._........_..........._.,-•---.............._._..._.,.........._......................_....._._..._,..._.........:..............._.,.._...__.._..__._...---.~......__._....__._._.._......._.......I
  ~ i ~• Offender/Placement ------                                                                             -Disability/Assistance                                                                                                  Important Dates —                                                                                —~ I
                                                                                                                                                                                                                                                                                                                                           f
          CDC tr:                        V46065                                                                   DDP Code.                                   NCF                                                                     Pending Revocation:                                             NO                                                  ~
     i ! rvame:                         GRIFFIN,                                                                  effective gate:                            08/10/2004                                                               Revocation Date:
                                        ELLIO7T LEW                                                               DPP Codes:                                                    [History]                                             Date Received In CDCR;                                        08/06/2004
    f i   inseiwtion:                   California Men's                                                         1845 Date:                                                                                                          Last Return Date:
    ! ~                                 C01017y
                                                                                                                  MHSDS Code:                                EOP                                                                     Extended Stay Date:                                             11/04/2004
        i 6ed Code:                     D 007 2218001E                                                           Ste;
                                                                                                                                                                                                                                     Extended Stay Privlleges7
          Placement Scare: 19                                                                                    PrlmaryMethod:
                                                                                                                                                                                                                                     Release Date;                                                  07/12/2010 !
          CustoAy Level;                MCdlUllt A                                                               Alternate Method:
                                                                                                                Learning                                                                                                             120 Day Date:                                                  03/14/2010
          Flousing Pgm;                 EOP.- Et1hI1Cd
                                                                                                                DisabilitY'
                                        Out-Pt Prog                                                                                                                                                                                  Next IDST Date:
                                                                                                                TABE Scare:                                  10.9                                                                 ..........................__...~..........._......._......................._...~......_..._...._.._.......~...........
          Housing                       Lower/Bottom
          Restrictions:                                                                                         TARE Date:                                                                                                          Work/Vocation/PIA                                                                                                   ~
                                        eunl< Only                                                                                                          09~08~2,OOE)
                                                                                                                                                                                                                                                                                                                                                        ~ j
         Physical                                                                                               Durable Medical                                                                        [Info]                         1
          Limitations to                                                                                        Equipment;
         ]ob/Other:                                                                                             Last Accomm:                                                                                                            Group Priv:
        ..__....__._.~_,.,.___.._.__..._~.                                                                                                                                                                                                                                  p                                                                      ~
                                                                          .—                                    Spoken
                                                                                                                                                                                                                                        Group Work: Al
                                                                                                                Languages:                                                                                                                                                                                                                        ~
                                                                                                                                                                                                                                        start Date.                         06/30/2017
                                                                                                                                                                                                                                        status:       Half time
                                                                                                                                                                                                                                        Job Position: 502.002. 19
                                                                                                                                                                                                                                        gab Title:    SUBSTANCE
                                                                                                                                                                                                                                                      ABUSE LTOPP
                                                                                                                                                                                                                                        IWTIP Code: 'r

                                                                                                                                                                                                                                       I'^~P                               Substance Abuse
                                                                                                                                                                                                                                       Description:
                                                                                                                                                                                                                                                                           Treatment
                                                                                                                                                                                                                                       Regular Day                         SU, S
                                                                                                                                                                                                                                       Off:
                                                                                                                                                                                                                                        work Hours: 1215-1530

                                                                                                                                                                                r
          r+ccornrnouauun rnswry _.._.._....~._._......_~                                                                   ___......._...~--,.__..._._..._..__.__~.........._.._.._....---...__....-------.-.

              06/09/2009                                                             Suitability                                                                      No Accommodation




http://decinternal/dppv.aspx                                                                                                                                                                                                                                                                                                  10/24/2017.
       Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 37 of 40 Page ID #:37


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                                                                       ~~ ~                    ~                           ~\


  STATE Of CALIFORNIA
                                                                                                                                                      ~D 87.~8~59
  CDC 7362 (Re.'. 03/IW)             HEALTH CARE SERVICES REQUEST FORM                                                                         DEPANTMENT OF CORitECTI(1N5


                                              PART I: TO BE COMPLETED BY THE PATIENT
                                      ~1 !ee oj~S.UO mm• be clrrnged to your trecsr uccoun~ %a'each heullh care ~~isri.
                    if you believe this is an urgent/emergent health care need, contact the correctional officer nn duh•.
  REQUEST FOR:                  MEDICA                         MENTAL HEALTH ❑                              DENTAL ❑                   MEDICATION REFILL ❑
  NAME                                    ~                     CDC NUMBER                                                      HOUSMG
       ~~'          J           V t~ l~                                                                                                      ~~~
  PATIENT SIGNATURE              /~1r}~C~1 ~1 ~ U~r { ~                                                                         UATE

                 o~-~U             V~ t          are A r eals Coordinator                                                                   ~ Q~ — (-
  REASONYOU ATtE REQUESTING HEALTH CARE SERVICES.(Describe Your Health Problem And Hou• Long You Have
                                                                                                      Had
  The roblem)


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                                                                                         U

  NOTE.• lF THE P,9TlENT IS U.h'.9BLE TO COfldPLETE THE FORb9. .4 HC.ALTN CARE ST~tFF MEAlBEIt S'I-l.1LL CO,bf.~LETE TFIE
                                                                                                                          FORM Oh'
  BEHALF OF TH£ PATIENT AND D.9TE AND S/GA' THE FORM
                         PART III: TO BE COMPLETED AFTER PATIENT'S APPOINTMENT
       Vsit is not exempt from $5.00 copayment. (Send pint: copy to Inmate Trust Office.)
                            PART II: TO BE COMPLETED BY THE TRIAGE REGISTERED NURSE
 Date /Time Received:                                                               Received bv:
 Date /Time Reviewed by RN:                                                         Reviewed by:
 S:                                                                               Pain Scale: 1                   ? ~           4 5 6 7 8 9 10




 C?:     T:                P~            P`:               ~P:                               WEI:7HT:



A:
P:
 ❑ See Nursing Encounter Form



E:



APPOINTMENT                         EMERGENCY ~                                           URGENT              ~                                ROUTINE                  ~
SCHEDULED AS:                      (IMMEDIATELY)                                    (WITHIN 24 HOURS)                              (WITHIN 14 CALENDARDAYSI
REFERRED TO PCP:                                                                  DATE OF APPOINTMENT:
COMPLETED BY                                                                      NAME OF INSTITUTION

PRINT /STAMP NAME                               51GNANRE /TITLE                                                                  DATE/TtME COMPLETED


CDC 7362.(Rev. 03/04)           Original -Unit Health Record   ~ Yellow -Inmate (if copayment applicable)   Pink -InmateTrusi Office (if copayment applicable   Gold -inmate
      Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 38 of 40 Page ID #:38

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5T.yTF Of ~_ALIFOR~IA
CDC 7362 (•Rec. D3/0~1             HEALTH CARE SERVICES REQUEST ~'OR1~'I
                                               PART I: TO BE COMPLETED B4'THE P~TIEtiT
                                     .~! lee u% ti i.~~0 nr~n• he churgecl ~n roiu• ri7i~t ucroiu~t.Ji~r• e~rch {~ealdr care ~•isi~.
                   if ~~ou belie~~e this is :~n urgent/emergent health care need, contact the correctional officer on duty.
rREQUEST FOR:                    MEDICAL                               [
                                                            MENTAL HEALTH                              DENTAL ❑                         i~iEU[C.aTlON REFILL
                   -~•                     ~                 CDC \l_~IBER                                                         HOI;~I\G                       ~-~
~ -~~IE

                                                                                                                                  DATE            ~
PATIEi~tT SIGNATLIR F              ~~~C {-r( ~'~ CV UG~j

 ~~ 1      ~     =~.1~^'~-~~~~      P t C~reA               ealsCoordinator                                                   I                1~:~
 REASON YOU ARE REQUESTT~iG HEALTH CARE SERVICES.(Des rib: Four H.alth Problem .end Ho~v Lin,~'vu Hai e 1-ln:i
 7'hz Problem)



                                                                        _              r




 :ti'OTE: IF THE P,-ITIE~~T!S C.:~:4BLE TO C0.11PLLTE 7HE FOR.I{, .-1 H£9LTH C-fRE S7'~FF ;lfE:~BER SN.-{LL COMPLETE THE f'OR:►f D.~
  BcKALF OF TH£ P.dTIF:~"T .~l:1~D D.~1TE:-I.~D SfG:~' THE FORS/
                         P~.RT III: TO BE CO~+IPLETED:~FTER P:~T1E~rT'SAPPOINT~iE\7"
      Visit is not exempt from $x.00 copayment. (Send pink copy to Inmate Trust OY~7ce.}
                        PART II: TO BE COtiIPLETED B~' THE TR1~GE REGISTE                RSE
 Date /Time Recei~~ed:                                                              Recei~ ed br:
 Date /Time Rer-iewed by Rai:                                                       Retiie~red br:

 S:                                                                             Pain Scale: 1                    2        3        4       5       6       7        8       9         10
          ~-                          ~,                               j,

           x,11 P . ~~. ~ ~. ('~n)~~_S~ ~ ~ ~~~_~:., ~^_~~ , 1-~ ,~.,' ~~`i~~.y~~~                                                     1              v`~~` c~lil,
                           ~ ,            - ~

10:        T:             P:                   R:           BP:                              WEIGHT:



 A:                                                                                        ~i~
 P:
  ❑ See i~'ursing Encounter Form                                   ~~ (~                                          P
                                                                                                                                  .`

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 E:                                                                                        eS-
                                                                                                                T~                  ~



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 APPOIiv`T~ENT                        EMERGENCY                                             URGENT                                                     ROUTI~tE
                                      (~~~~~EC~I:aTFLI'1 ~                           (~V1THI~?-4H0~`RSi C                                ~~~"ITH!\ i-1CALE~D.~RD~~'SI
 SCHEDULED AS:
 REFERRED TO PCP:                                                                   DATE OF APPOI~.'TvtENT:                                                                                     i
                                                                                    \A?~[E OF I~STITUT(i1~                                                                                      i
 COMPLETED Bl'
                                                                                                                                                                                                i

 PRf~-C' ST.4~lP N.4~1E                             SIGNATURE ~ TITLE                                                                  DATE;TI~IE COMPLETED



 C~'~ J J~32 ~~t'.1'. ~J~~'~~      t3r~mal - L'~r: H alth      'reii ~~ .inm~~e ~      e~m   L 3Fv1lC1^fry   Pui;. - I!~(lieicTf~tif ~)hi~e 111 Cor~J.(T1:G: appl;cab;e;   i:,~'.. - ;. c. .-


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Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 39 of 40 Page ID #:39



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                                      Health Care Grievance Assignment Notice
                                                 Institutional Level

 Date:         12/29/17

 To:      GRIFFIN,ELLIOTT(V46065)
          # D 007 2218001E
          California Men's Colony
          P.O. Box 8101
          San Luis Obispo, CA 93409-8101
 Tracking #: CMC HC 17000404
 Appeal Level:        Institutional
 Due Date:            3/7/2018

 This acts as a notice to you that your grievance has been assigned to the Health Care Grievance Office for
 response. If you have any questions, please contact.the Health Care Grievance Coordinator at your institution.

 Your medical condition will continue to be monitored with care provided as determined medically indicated by
 the Primary Care Provider. If you have additional health care needs, you are advised to utilize the CDC 7362,
 Health Care Services Request Form, process to access health care services in accordance with California
 Correctional Health Care Services policy.




 Raught,P
 Health Care Grievance Coordinator
 Health Care Grievance Office
 California Men's Colony




                                           ~X~ ~ ~~
                                                                                                       P.O. Box 588540
MEAL.TH CARE S~RVIC~S                                                                             Elk Grove, CA 95758
Case 2:18-cv-00687-DOC-AGR Document 1 Filed 01/26/18 Page 40 of 40 Page ID #:40




                                           PROOF OY+ ~~Ii~yC~ ~1']11~I~I.L,

                                              B1' P~RS~N IN STATE CUSTODY

                                                  (Fed. R, Civ, P. 5; 28 U.S,C, § 1746j

         1,     ~~ ~ ~ u~~" Lec.~ (fir i ~th n                                                                          ,declare;

  1 11'11 OVL'T~ ~i )years   of a6e and a p~i•ty do this Diction, I am a resident of        ~a ~ ;~~> rn ~ e,. I~~is

                 D Ml u~_~             1~     _                                                                            ~C1S011~
                      ~ .

  1 11 1:{le COUIlt)~ Of       ~Ct.✓~     ~~~ S      ~~ S~rJ


  St1te of California. My prison address is. ~ l~ ~ ~a X                       ~ ~ C~ ~ , ~a ~, ~—e., ~ s ()~spr,~                   ,



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                                                       (DATG)


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          ~- U.S'. C.. ~ I~'~'s:3
                                              ~~rscRigE ~ocui~tsN•r~

  on the parties herein by placing true and correct copies thereof, enclosed in ~ sealed envelope, with postage

  thereon fully paid, in the United Stites Mail in a deposit box so provided at the above-Warned correctional

   institution in which I am presently confined. The envelope was addressed as follows;




              declare wider penalty of peijtu•y u~lcler the laws of the UniCed Stiates of America that the foregoing

   is true and correct.

   Cxecuted nn               ~ '— ~-~~r                                                      ...~-
                             (UA'I'f                                   (DGCLARnN"P'SSIG A"    RE)




         Civ-G9(Rer. 9f)7)                                                                     ::ODM AV'CDOCS\\YORDPHRl~ECT22d3?11
